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Cardel Master Builder lnc.

Statement of Operations and Retained Earnings

Revenue:
Management fees, related party
Rental income, related party
interest lnoome, related party
interest income
Total revenue

Operating expenses:
Depreciation
Management fees, related party
Office
Total operating expenses
lncome before income taxes
income tax expense
Net income

Retained"eamings~-, beginning of period

Retained earnings, end of period

August 14, 2018

Perio'd Ehded J,un'"e 30, 2018
(Fc)r management purposes only)

June 30, 2018
l lG..m_Qnths;}. .,

86,165
69,000
18,219

 

1 12,565
38,000

3,749,801

 

December 31, 2017
. .4 112,an_ths,},,,_,

'l 65, 343
1 38,000
1 7, 900

94,470
20,000
6 702

   

206,483

88,098

3,631,417

 

 

 

 

